13 F.3d 421
    304 U.S.App.D.C. 298
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.George KALAVITINOS, Appellant.
    No. 92-3011.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 23, 1993.
    
      1
      Before SENTELLE, RANDOLPH, and CAMPBELL,* Circuit Judges.
    
    JUDGMENT
    
      2
      This cause came to be heard on appeal of the judgment of the District Court, and it was briefed and argued by counsel.  The issues have been accorded full consideration by the Court and occasion no need for a published opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      3
      ORDERED and ADJUDGED by the Court that this case is affirmed.
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely filed petition for rehearing.  See D.C.Cir.Rule 15.
    
    Per Curiam
    
      
        *
         Sitting by designation pursuant to 28 U.S.C. Sec. 294(d)
      
    
    